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                         EXHIBIT HH
          Case 2:90-cv-00520-KJM-SCR                  Document 3121-2            Filed 10/21/08         Page 3 of 17



 1 PRISON LAW OFFICE                                              ROSEN, BIEN & GAL VAN, LLP
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13
     Attorneys for Plaintiffs
14
                                      IN THE UNITED STATES DISTRICT COURTS
15                                 FOR THE EASTERN DISTRICT OF   CALIFORNIA
16                             AND THE NORTHERN DISTRICT OF CALIFORNIA
                        UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
17
                         PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
18                                                          .~
     RALPH COLEMAN, et aL,                                         No.: Civ S 90-0520 LKK-JFM P
19
                          Plaintiffs,                        )     THREE-JUDGE COURT
20                                                           )
                  vs.                                        )
21                                                           )
     ARNOLD SCHW ARENEGGER, et aL,                           )
22                                                           )
                          Defendants                        .)
23                                                           )
     MARCIANO PLATA,et aL,                                   ) No. COL-1351 THE
24                                                           )
                          Plaintiffs,                               THREE-JUDGE COURT                        .'

25                vs.                                        ~


26          OLD SCHW ARENEGGER, et a1.,                             PLAINTIFFS' FIRST REQUESTS FOR
                                                             L      PRODUCTION OF DOCUMENTS TO..
27                vs.                                        )      DEFENDANTS
                                                             ).
28

                                                                 -1 -
        PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIY S 90-0520 LKK-JFM. COI-1351 THE
               Case 2:90-cv-00520-KJM-SCR                                 Document 3121-2                       Filed 10/21/08       Page 4 of 17



 1 PROPOUNDING PARTIES:                                         Plaintiffs Marciano Plata et a1.

 2 RESPONDING PARTIES:                                          Defendants Arold Schwarzenegger et a1.

 3 SET NUMBER:                                                  One

 4 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 5 PLEASE TAKE NOTICE that, pursuant to Federal Rules of
                                                                                                                Civil Procedure Rule 34, Plaintiffs

 6 Marciano Plata et a1. request that Defendants Arold Schwarzenegger et a1. .("Defendants") produce all
 7 responsiye Documents requested herein at the office of Plaintiff s counsel, the PRISON LA W

 8 OFFICE, 2173 E. Francisco Blvd., Suite M, San Rafael, CA 9490 i. The date of production shall be

 9 thirt (30) days from the date of these Requests, or on such other date as counsel may mutually agree.

10 INSTRUCTIONS
11                  1.          The following Requests require the production of all responsive documents within the

12 sole or joint possession, custody, or control of
                                                                              any agents, agencies, boards, departments, employees,

13 servants, representatives, consultants, counsel, and/or other persons or entities
                                                                                                                          acting or purporting to

                                                                                                          any Defendants.
14 act on Defendants' behalf, or otherwise subject to the control of



15                 2.           The following Requests are continuing iri nature and. require prompt supplemental

16 responses for any and all responsive documents that come into any Defendant's sole or joint

17 possešsion, custody, or control after the service of any initial responses hereto.

18                  3.           The following Requests require the production of preliminar drafts, revisions, and/or

19 copies of             any such document if              the copy is in any way different from the originaL.

20                  4.           The following Requests require the production of all transmittal sheets, coyer letters,

21 exhibits, enclosures and attachments to the documents, in addition to the documents themselves.
22                  5.           Pursuant to Federal Rule of              Civil Procedure 34(b), all responsive documents are

23 required to be produced either: (a) as they are kept
                                                                                       in the usual course of        business (together with copies

24 of any fie labels or binder covers for the fies or binders in which they are maintained); or (b)

                                                                                                    the Requests to which they respond.
25 organized and labeled to correspond with the categories of



26                  6.           If any responsive document is maintained in a computer-readable form, the document
                                                                                                                                           business;
27 shall be produced: (a) in hard copy form, in a format generally used in the ordinary course of



28 and (b) on disk, tape, or other form of computer storage, with instructions necessary to convert the'

                                                                                       ~2-
           PLAINTIFFS' FIRST REQUESTS FOR PRODUcrlON OF DOCUMENTS TO DEFENDANTS, NOS.: CIV S 90-0520 LKK-JFM, co i .135 i THE
              Case 2:90-cv-00520-KJM-SCR                                    Document 3121-2                     Filed 10/21/08          Page 5 of 17



        information into reasonably usable form (including the name and version number of                                          the program used

  2 to create or read the data).
  3                 7.           In construing the         Requests herein, the singular shall include the plural and the plural

  4 shall include the singular. A masculine, feminine or neutral pronoun shall riot exclude the other

  5 genders, so that the interpretation applied results in the more expansive production. The terms "and"

. 6 and "or" shall be construed broadly and expansively as "and/or," and shall not be constred to limit

  7 the documents or information sought in any maner.

  8                 8.           If apy Request demands production of docum~nts that have been lost, discarded, or

  9 destroyed, identify such documents as completely                                 as possible. Such identification shall include, but is

10 not limited to, a description of the subj ect matter of the document, the author of the document, the date
11 öfthe document's creation, the date of disposal, manner of disposal, reason for disposal, person
12 authorizing the disposal and person. disposing of the document.
13                  9.           For any responsive document or portion thereof                         that is either redacted or withheld, in

14 whole or in part, on the basis of any assertion of privilege or other asserted exemption from discovery,
15 furnish a list identifying each document, or portion thereof, not produced for this reason, together with
16 the following information: (a) the title or identity of                              the document; (b) the date of            the document; (c) the

i 7 type or nature of               the document; (d) the identity, title, or responsibilities, and relationship to Defendants

18 of all persons who eithe~ prepared or received the document; (e)                                       the number of       pages and attachments;

i 9 (e) the type and nature of                   the privilege or exemption asserted; and (f) the contents or subject matter of

20 the document, with sufficient detail to explain the basis for the privilege or exeinption asserted (see
21 Fed. R.Civ. P. 26(b)(5)). For                        any responsive document or portion thereof                        that may not properly be

22 redacted or withheld in its entirety, produce each and every portion ihereofto which the claimed

23 privilege or exemption does not apply and specify, on the face of each such page or portion, the fact
24 and reason for the redaction or withholding.

25 II
26 DEFINITIONS
27                  1.           "DOCUMENT" or "DOCUMENTS" as used herein is intended to have the broadest

28 possible meaning and to include anything coming within the definition of
                                                                                                                          "writings" and "recordings"

                                                                                  . -3-
           PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: CIY S 90-0520 LKK-JFM. COJ-1351 THE
             Case 2:90-cv-00520-KJM-SCR                                    Document 3121-2       Filed 10/21/08        Page 6 of 17



1 as set forth in Rule i 00 i (l) of the Federal Rules of Evidence. The term refers to but is not limited to

 2 . the product of any method of recording information, whether by wrting or otherwse, including

 3 without limitation: any written, electronic, or computerized files, data or software; memoranda;
 4 correspondence; communications; reports; summares; studies, analyses; evaluations; notes or
 5 notebooks; indices; logs; books, booklets or binders; pamphlets; calendar or diar entries; ledger

 6 entres; press clippings; graphs; tables; charts; drawings; maps; meeting minutes; photographs;

 7 transcripts; audio or video recordings or tapes; facsimile transmissions; electronic mail messages; and

 8 the like. "DOCUMENT" shall include each copy of any whole or par of a document on which there
 9 appears any marking or deletion which does not appear on the original or other copies thereof, together

10 with all drafts or notes for the preparation of each document. If the original of a document is not
                                                                                      the originaL.
11 available, "DOCUMENT" includes any identical copy of



12                 2.          "RELEVANT TIME PERIOD" for the purpose of                      these Requests means the time period

13 from April 4,2006 (six months prior to Governor Schwarzenegger's October 4,2006 Proclamation of

14 a State of Emergency) until the present.

15                  3.         "REFER(S) TO" or "RELA TE(S) TO" means constituting, representing, defining,

16 depicting, concerning, embodying, reflecting, identifying, stating, mentioning, addressing, or

17 pertaining to the subject matter of
                                                            the request in whole or in part, directly or indirectly.

18                  4.         "INCLUDING" means "including, but not limited to", and is not to be construed to

19 limit a Request.
20                  5.         "COMMUNICATIONS" means any recorded transfer of information or impression,

21 whether it be by digital, electronic, audio, visual, written or other means.

22                  6.          "YOU" and "YOUR" refers to all defendants in this litigation, their agents,

23 representatives, attorneys, and all other persons or entities acting on theÎr behalf.
24                  7.          "DEPARTMENT" means the California Deparment of Corrections and Rehabilitation,

25 including any boards, divisions, units, agencies, agents, servants, representatives, consultants, or
26 counsel thereof and any
                                              predecessor entities thereof, including the former California Department of

2 7 Corrections.

 28

                                                                                -4-
            PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS. NOS.: CIY S 90-0520 LKK-JFM. COI-l35 i THE
              Case 2:90-cv-00520-KJM-SCR                                  Document 3121-2             Filed 10/21/08      Page 7 of 17



                   8. "AB 900" means the Public Safety and Offender Rehabilitation Services Act of2007,
 2 signedinto law by Governor Arnold Schwarzenegger on May 2, 2007.

 3                 9.         "PRISON" and "PRISONS" means any and all facilties in which class members in this

 4 litigation are or can be incarcerated, any planed redesigns .of, construction to, or renovations of such


 5 facilties, and any aew such facilities contemplated by AB900.

 .6                10.        "TIMETABLE" means any DOCUMENT setting forth a calendar, schedule, chart,

 7 table, or any other information that RELATES to the timing for completing any or all phase(s) of
                                                                                                                                   the

 8 subject matter of              the request.

 9                  11.       "COMMUNICATION" or "COMMUNICATIONS" means any exchange or transfer of

10 information between two or more natural persons, any units of governent, (including governental

11 agencies or local heads of government), non profit organizations, public interest groups, associations,

12 quasi -public entities, and all other forms oflegal entities, whether written, oral, or in any other form.

13                  12.        "MAXIMUM CAPACITY" means the maximum number of inmates who can safely be

14 housed in the PRISONS.

15 REQUESTS FOR PRODUCTION
i 6 REQUEST NO.1: Any and all DOCUMENTS created during the RELEVANT TIME

17 PERIOD that REFER or RELATE TO the implementation of AB 900, INCLUDING but not limited to

i 8 the PRISONS' capacity for traffc, sewage, water, power and other infrastructure, the presence of
19 valley fever at or in the vicinity of
                                                               the PRISONS, and staffing levels at PRISONS.

20 REQUEST NO.2: Any and all DOCUMENTS created during the RELEVANT TIME
21 PERIOD that REFER or RELATE TO any projected change in California's PRISON population.

22 REQUEST NO.3: Any and all DOCUMENTS created during the RELEVANT TIME
23 PERIOD that REFER or RELATE TO the DEPARTMENT'S choice of
                                                                                                         the ten prisons identified as

24 . sites for the construction of up to 7,484 additional prison beds under § 15819 .40(a)( 1 )(A) of AB 900,


25 INCLUDING site surveys and Environmental Impact Reports.
26 REQUEST NO.4: Any and all DOCUMENTS created during the RELEVANT TIME
27 PERIOD that REFER or RELATE TO any COMMUNICATIONS regarding the DEPARTMENT'S

28 choice of the ten prisons identified as sites for the construction of up to 7,484 additional prison beds

                                                                                    -5-
           PLAINTIFFS' FIRST REQUESTS           FOR PRODUcrlON OF DOCUMENTS TO DEFENDANTS. NOS.: CIY S 90.0520 LKK-JFM, COJ-1351 THE
              Case 2:90-cv-00520-KJM-SCR                                   Document 3121-2                   Filed 10/21/08     Page 8 of 17



 1 under § 15819.40(a)(l)(A) of AB 900, INCLUDING any such COMMUNICATIONS from or to any

 2 local community group and/or local governent officials.

 3 REQUEST NO.5: Any and all DOCUMENTS created during the RELEVANT TIME
 4 PERIOD that REFER or RELATE TO any TIMETABLE for the construction of
                                                                                                                       up to 7,484 additional

 5 prison beds under § 1581 9.40(a)(l)(A) of AB 900, INCLUDING any DOCUMENTS RELATING TO

 6 the DEPARTMENT'S progress in meeting such a TIMETABLE.

 7 REQUEST NO.6: Any and all DOCUMENTS created during the RELEVANT TIME
 8 PERIOD that REFER or RELATE
                                                              TO the DEPARTMENT'S consideration of
                                                                                                                     the possible sites for

 9 the constrction of                 up to 4,516 additional prison beds under § 15819.40(a)(l)(B) of AB 900.

10 REQUEST NO.7: Any and all DOCUMENTS created during the RELEVANT TIME
11 .    PERIOD          that REFER or RELATE TO any COMMUICATION from
                                                                                                               any local entity, INCLUDING

12 any local community group and/or local governent offcials, regarding the sites for the construction
13 of       up to 4,516 additional prison beds under § 15819.40(a)(l)(B) of AB 900.

14 REQUEST NO.8: Any and all DOCUMENTS created during the RELEVANT TIME
15 PERIOD that REFER or RELATE TO any TIMETABLE for the construction of up to 4,516 additional

16 prison beds under § 1581 9.40(a)(1)(B) of AB 900, INCLUDING any DOCUMENTS RELATING TO

17 the DEPARTMENT'S
                                             progress in meeting such a TIMETABLE.

18 REQUEST NO.9: Any and all DOCUMENTS created during the RELEVANT TIME
19 PERIOD that REFER or RELATE TO the DEPARTMENT'S identification of appropriate sites to

20 construct 6,000 additional prison beds under § 15819.40(b) of AB 900 (reentr facilities).

21 REQUEST NO. 10: Any and all DOCUMENTS created during the RELEVANT TIME
22 PERIOD that REFER or RELATE TO any COMMUNICATION from any local entity, INCLUDING

23 any local community group and/or local governent officials, regarding the sites for the constiuction

24 of up to 6,000 additional prison beds under § 15819.40(b) of AB 900 (reentry facilities).

25 REQUEST NO.                                  11: Anyand all DOCUMENTS                             created during the RELEVANT TIME

26 PERIOD that REFER or RELATE TO any TIMET ABLE for the DEPARTMENT to acquire land,

27 design, construct and renovate in order to constrct 6,000 additional prison beds, under § 15819.40(b)

28

                                                                                      -6-
           PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS. NOS.: CIY S 90-0520 LKK-JFM. COI-13S1 THE
             Case 2:90-cv-00520-KJM-SCR                                  Document 3121-2        Filed 10/21/08     Page 9 of 17



 1 of AB 900 (reentr facilities), INCLUDING any DOCUMENTS RELATING TO the

 2 DEPj~.RTMENT'S progress in meeting such a TIMETABLE.

 3 REQUEST NO. 12: Any and all DOCUMENTS created during the RELEVANT TIME
 4 PERIOD that REFER or RELATE TO the DEPARTMENT'S consideration ofposslble sites for the

 5 construction of             new buildings to treat or house 6.000 inmates under § 158 19.40(c) of AB 900.

 6 REQUEST NO. 13: Any and all DOCUMENTS created during the RELEVANT TIME
 7 PERIOD thatREFER or RELATE TO any COMMUNICATION from any local entity, INCLUDING

 8 any local community group and/or local governent officials, regarding the sites for construction of

 9 new buildings to treat or house 6,000 inmates under § 1581 9.40( c) of AB 900.
10 REQUEST NO. 14: Any and all DOCUMENTS created during the RELEVANT TIME
11 PERIOD that REFER or RELATE TO any TIMETABLE for
                                                                                           the DEPARTMENT to construct new

12 buildings to treat             or house      6,000 inmates under § 15819.40(c) of AB 900, INCLUDING any

13 DOCUMENTS RELATING TO the DEPARTMENT'S progress in meeting such a TIMETABLE.
14 REQUEST NO. 15: Any and all DOCUMENTS created during the RELEVANT TIME'
15 PERIOD that REFER or RELATE TO the identification of appropriate sites to add up to 4,000
16 additional prison beds, under §15819.41(a) of AB900.

17 REQUEST NO. 16: Any and all POCUMENTS created during the RELEVANT TIME
18 PERIOD that REFER or RELATE TO any COMMuNICATION from any local ~ntity, INCLUDING

19 any local community group and/or local governent officials, regarding the sites to add up to 4,000
20 additional prison beds, under § 15819.4 1 (a) of AB900.
21 REQUEST NO. 17: Any and all DOCUMENTS created during the RELEV ANT TIME
22 PERIOD that REFER or RELATE TO any TIMETABLE for the DEPARTMENT to design, construct,

23 and renovate existing facilities in order to add up to 4,000 additional beds under §1 58 1 9.4 1 (a) of

24 AB900, INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S progress in

25 meeting such a TIMETABLE.

26 REQUEST NO. 18: Any and all DOCUMENTS created during the RELEVANT TIME.
27 PERIOD that REFER or RELATE TO the DEPARTMENT'S identification of appropriate sites to

28 construct new buildings to treat or house up to 2,000 inmates under § 1581 9.41
                                                                                                          (b) of AB 900.

                                                                                     -7-
           PLA1NTIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS. NOS.: CIY S 90-0520 LKK-JFM. COI-1351 THE
            Case 2:90-cv-00520-KJM-SCR                     Document 3121-2           Filed 10/21/08          Page 10 of 17



 1 REQUEST NO. 19: Any and all DOCUMENTS created during the RELEVANT TIME
 2 PERIOD that REFER or RELATE TO any COMMUICATION from any' local entity, INGLUDING

 3 any local community group and/or local governent offcials, regarding the sites for the construction
 4 of new buildings to treat or house up to 2,000 inmates under § 15819 .41 (b) of AB 900.

 5 REQUEST NO. 20: Any and all DOCUMENTS created during the RELEVANT TIME
 6 PERIOD that REFER or RELATE TO any TIMETABLE for the DEPARTMENT to design, construct,

 7 and establish new buildings to treat or house 2,000 inmates under §'15819.41(b) of AB 900,

 8 INCLUDING                  any DOCUMENTS RELATING TO the DEPARTMENT'S progress in meeting such a

 9 TIMETABLE.
10 REQUEST NO. 21: Any and all DOCUMENTS created
                                                                                   during the RELEVANT TIME

11 PERIOD that REFER or RELATE TO the DEPARTMENT'S identification of appropriate sites to

12 construct, establish and operate reentry program facilities that wil house 10,000 inmates, under §

13 15819.41(c) of AB 900.

14 REQUEST NO. 22: Any and all DOCUMENTS created during the RELEVANT TIME
15 PERIOD that REFER or RELATE TO'any COMMUNICATION from any local entity, INCLUDING

16 any local community group and/or local governent officials, regarding the sites for the construction,.
i 7 establishment and/or operation of
                                                   reentr program facilties to house 10,000 inmates, under §


18 15819.41(c) of AB 900.

19 REQUEST NO. 23: Any and all DOCUMENTS created during the RELEVANT TIME
20 PERIOD that REFER or RELATE TO any TIMETABLE for the DEPARTMENT to construct,

21 establish and operate reentry program facilties that wil house 10,000 inmates, under § 15819.4 1 (c) of

22 AB 900 (reentry facilties), INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S.
23 progress in meeting such a TIMETABLE.

 24 REQUEST NO. 24: Any and all DOCUMENTS created during the RELEVANT TIME
 25 PERIOD that REFER or RELATE TO any TIMETABLE for the transfers of inmates out of state under
 26 §1 1 191 of AB900, INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S progress

 27 in meeting such a TIMETABLE.

 28

                                                                   -8-
            PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS, NOS.: eiy s 90-0520 LKK-JFM. COL -I 35 I THE
             Case 2:90-cv-00520-KJM-SCR                              Document 3121-2         Filed 10/21/08      Page 11 of 17



 1 REQUEST NO. 25: Any and all DOCUMENTS created during the RELEVANT TIME
 2 PERIOD that REFER or RELATE TO the DEPARTMENT'S ability or lack of ability to hire and/or

 3 retain medical and mental health staff in PRISONS, INCLUDING but not limited to any studies or

 4 analy::es of           the effect of AB900 on medical and mental health staffing levels.

 5' REQUEST NO. 26: Any and all DOCUMENTS created during the RELEVANT TIME
 6 PERIOD that REFER or RELATE TO any studies or analyses of
                                                                                         the effect of AB900 on medical and

 7. mental health care at the PRISONS.
 8 REQUEST NO. 27: Any and all DOCUMENTS created during the RELEVANT TIME
 9 PERIOD that REFER or                       RELATE to any measure(s) that YOU have initiated or considered in order to

10 reduce prison populations, other than the measures set
                                                                            forth in AB900.

11 REQUEST NO. 28: Any and all DOCUMENTS created during the RELEVANT TIME
12 PERIOD, that RELATE TO any contingency plans,
                                                                           other than population reducing measures, that

13 YOU have considered initiating when, in YOUR estimation, the PRISONS reach their MAXIMUM
14 CAPACITY.
15 REQUEST NO. 29: Any and all DOCUMENTS created during the RELEV ANT TIME
                                                                                                        the MAXIMUM
16 PERIOD that RELATE TO YOUR or the DEPARTMENT'S determination of



17 CAPACITY of any PRISON or the prison system as a whole.
1 8                 REQUEST NO. 30: Any and all DOCUMENTS created during the RELEVANT TIME

19 PERIOD that REFER or RELATE TO any TIMETABLE for obtaining the funding to implement AB

20 900, INCLUDING any DOCUMENTS RELATING TO YOUR progress in meeting such a
21 TIMETABLE.
22 REQUEST NO. 31: Any and all DOCUMENTS created during the.RELEVANT TIME
23 PERIOD that REFER or RELATE TO any consideration ofplaCIng limitations on the Prison

24 population.
25 REQUEST NO. 32: . Any and all DOCUMENTS created during the RELEVANT TIME
                                                                                   the effects of   sentencing reform on the
26 PERIOD that REFER or RELATE TO any consideration of



27 PRISON population.
 28

                                                                          "9-
            PLAINT1FFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS. NOS.: C1V S 90-0520 LKK:JFM. co I - i 35 1 THE
            Case 2:90-cv-00520-KJM-SCR                                      Document 3121-2       Filed 10/21/08        Page 12 of 17



 1 REQUEST NO. 33: Any and all DOCUMENTS created during the RELEVANT TIME
 2 PERIOD that REFER or RELATE TO any consideration of the effects of a sentencing commission on
 3 the PRISON population.

 4 REQUEST NO. 34: Any and all DOCUMENTS created during the RELEVANT TIME
 5 PERIOD that REFER or RELATE TO any consideration of the effects of any changes in parole
 6 policies on the PRISON population.

 7 REQUEST NO. 35: Any and all DOCUMENTS that REFER or RELATE TO the
 8 comprehensive analysis of existing CDCR beds, programming space, clinical/mental health space, .

 9 infrastructure capacities, and projected mitigation referenced at 2:6-8 of
                                                                                                        the Declaration Of Scott

10 Kernan In Support Of                   Defendant's Supplemental BriefIn Opposition To Plaintiffs' Motion For

11 Referral To A Three Judge Panel, filed on May 24, 2007.in Coleman v. Schwarzenegger.

12 REQUEST NO. 36: Any and all DOCUMENTS that REFER or RELATE TO the analysis of
13 additional capacity available within the state referenced at 2:8-12 of
                                                                                                   the Declaration Of Scott Kernan

14 In Support Of              Defendant's Supplemental BriefIn Opposition To Plaintiffs' Mòtion For Referral" To A

15 Three Judge Panel, fied on May 24, 2007 in Coleman v. Schwarzenegger.

16 REQUEST NO. 37: Any                                       and all memoranda and/or other COMMUNICATIONS that

17 REFER or RELATE TO any changes or clarifications of parole discharge policies.
.18 REQUEST NO. 38: Any and all memoranda and/or other COMMUNICATIONS that
19 REFER or RELATE TO any changes and/or clarifications of parole revocation policies.




                                                                                   Respectfully submitted,




                                                                                   ~J/h?~
                                                                                   Vibeke Norgaard Marin
                                                                                   Prison L.aw Office
                                                                                   Attorneys for Plaintiffs




                                                                                 -10-
           PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS. NOS.: CIY S 90-0520 LKK-JFM. CO 1-135 I THE
     Case 2:90-cv-00520-KJM-SCR                                Document 3121-2                Filed 10/21/08   Page 13 of 17



 1                                            DECLARATION OF SERVICE BY MAIL
2
   Case Name: Coleman v. Schwarzenegger
 3 United States Distrct Court
              Eastern District of California                                         No. 2:90-cv-00520 LKK JFM P
4
                           Plata v. Schwarzenegger
 5                         United States Distrct Court
                           Northern District of California No. C-01-1351 T.E.H.
 6

 7
      I am employed in the County of Marn, Californa. I am over the age of 18 years and not a
 8 party to the within entitled cause: my business address is Prison Law Office, General
      Delivery, San Quentin, California 94964. .
 9

10 On September 5,2007 attach.ed
11      HRE JUDGE COURT
        LAINTIFFS' FIRST REQUEST FOR PRODUCTION OF DOCUMNTS TO
12

13
        EFENDANTS .. . .
14 in said cause, placing, or causing to be                          placed, a tre copy thereof, enclosed in a sealed
      envelope with postage thereon fully prepaid in the United States Mail at San
                                                                                                               Rafael,
15 California, addressed as follows: .

16

17

18 ISA A. TILLMAN
        AMATHATAMA
19 Deputy Attorney Generals
       Office of the Attorney General
20 455 Golden Gate A venue, Suite 11000
       San Francisco, CA 94102
21

21
23
24
25 I declare under penalty of perjury under the laws of the State of California that the
     for~goii:g is true and correct, and that this declaration was executed at San Rafael,
26 alifornia on September 5, 2007. '. .
27
28
                                                                z~   Edie DeGraff
                                                                                                 ""-
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                                                                                                                  Page 1.of3
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 Alessandra Moore




                                                                 Redacted
                                                      Attorney-Client Privilege




From: Don Specter (mailto:dspecterC§prisonlaw.com)
Sent: Friday, June 06, 2008 3:32 PM
To: Andrea Hoch
Cc: 'Michael W. Bien'; 'Elwood Lui'; Peter.5igginsC§jud.ca.goy; 'Cate, Matt'
Subject: RE: Mental Health Data


Andrea,

We agree.

Don


From: Andrea Hoch (mailto:Andrea.HochC§GOV.CA.GOV)
Sent: Friday, June 06, 2008 12:34 PM
To: Don Specter
Cc: Michael W. Bien; Elwood Lui; Peter.SigginsC§jud.ca.gov; Cate, Matt; Andrea Hoch
Subject: RE: Mental Health Data


Don,

Thank you for your response. With regard to plaintiffs right to obtain any information through discovery, I
understand this position. As a corollary to plaintiffs position, the State's             agreement to share
and provide information to plaintiffs and parties/intervenors during the settlement process is without prejudice to
the State's right to assert privileges during discovery. Specifically, the State has not waiyed any privileges that it
may assert during discovery, and the State's sharing of information      during the settlement process shall not
constitute a waiver of any privileges.

If this is acceptable, please let me know. Thanks.

Andrea

From: Don Specter (mailto:dspecterC§prisonlaw.com)



 10/17/2008
                                                                                                                                                                              Page 20f3
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Sent: Friday, June 06, 2008 10:06 AM
To: Andrea Hoch
Cc: 'Michael W. Bien'; 'Elwood Lui'; Peter.Siggins(§jud.ca.goy; 'Cate, Matt'
Subject: RE: Mental Health Data


Andrea,

Thanks for expediting the CDCR information. I learned that the Receiver's offce is shipping us
information today that we wil have on Monday, and with the information provided by the CDCR we
should enough to get started with the analysis.

Plaintiffs' counsel agree not to use the information provided by the state during the settlement process
in the three judge panel or any other proceeding, with the exception of the physical observations made
by Wayne Scott during his prison tours. This is without prejudice to Plaintiffs right to obtain any
information through discovery.

Don


From: Andrea Hoch (mailto:Andrea.Hoch(§GOV.CA.GOV)
Sent: Thursday, June OS, 2008 6:45 PM
To: Don Specter
Cc: Michael W. Bien; Andrea Hoch; Elwood Lui; Peter.Sigginst§jud.ca.goy; Cate, Matt
Subject: RE: Mental Health Data


Don,

COCR is working on this information request and it looks like most of the information will be available soon
(maybe as soon as close of business tomorrow). As this information is being proYided to you and your expert and
COCR's expert as part of the settlement process (and at the request or suggestion of the Coleman Special
Master), I need to confirm plaintiffs' counsel's continuing commitment that all information provided and obtained
during this settement process is confidential and cannot be used by the parties in the three-judge panel
proceedings or any other proceeding.

This commitment has been in effectduring all of the settlement discussions and processes to date.

Thank you in advance for confirming your commitment. I look forward to the experts' work on the population
levels.

Andrea
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From: Don Specter (mailto:dspecter(§prisonlaw.com)
Sent: Thursday, June OS, 20083:19 PM
To: Andrea Hoch
Cc: 'Michael W. Bien'
Subject: Mental Health Data


Andrea,
It looks like we'll be able to get some good data from Clark pretty quickly. However, Matt
Lopes indicated that most, if not all, of the information we are requesting (especially
staffing) is available from COCR and not from him. It probably would be helpful if you
could ask Robin Oezember at COCR to supply us with whatever data he has that is
responsive to the requests made to the Special Master.


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Thanks
Don




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